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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


 ROBERT H. WEINBERG, individually and
 on behalf of others similarly situated,                   Case Number: 1:17-cv-08867

                        Plaintiff,                         Judge Amy J. St. Eve
 v.

 NISSAN NORTH AMERICA, INC.,

                        Defendant.


                   AGREED DOCUMENT PRODUCTION PROTOCOL

       The parties to this Agreed Document Production Protocol have agreed to the terms of this
Order; accordingly, it is ORDERED:

        A.     GENERAL PROVISIONS

                1.      These specifications apply to both electronically stored information (“ESI”)
and documents originating as paper, which are also to be produced in electronic form in this
Litigation as provided below. The parties will make reasonable efforts to prepare responsive and
non-privileged paper documents and ESI for production in accordance with the agreed-upon
specifications set forth below.

               2.      Security: Both parties will make reasonable efforts to ensure that any
productions made are free from viruses and provided on encrypted media for submission. The
producing party shall provide the necessary information to decrypt any productions to the receiving
party by a separate e-mail or letter.

                3.      Confidentiality Designation: Responsive documents in TIFF format will be
stamped with the appropriate confidentiality designations in accordance with the Protective Order
entered in this matter.

                4.     Non-Standard Files: The format of production of non-standard electronic
files, large oversized documents, and other files for which production pursuant to the standard
format specified below would be impracticable will be discussed with the receiving party before
production to determine the optimal production format.

              5.     Search Methodologies: The parties agree to meet and confer as needed to
develop a mutually agreeable list of search terms and protocols.
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                6.      Deduplication: A party need not produce identical information items in
more than one form and shall globally de-duplicate identical items across custodians using each
document’s unique MD5 or SHA1 hash values. The content, metadata and utility of an information
item shall all be considered in determining whether information items are identical, and items
reflecting different information shall not be deemed identical. For example, emails that include
content on the “bcc” or other blind copy field will not be treated as duplicates of emails that do not
include content in the “bcc” or other blind copy field, even if all remaining content in the email is
identical. In an email thread, only the final-in-time document need be produced, assuming that all
previous emails in the thread are contained within the final message and provided that the software
used to identify these “near-duplicate” threads is able to identify any substantive differences to the
thread such as changes in recipients (e.g., side threads, subject line changes), selective deletion of
previous thread content by sender, etc. Where a prior email contains an attachment, that email and
attachment shall not be removed as a “near-duplicate.”

       B.      PRODUCTION OF DOCUMENTS ORIGINATING AS PAPER

        For documents originating in paper format, the following specifications should be used for
their production:

               1.     TIFFs. Images should be produced as black-and-white or color (as
applicable), single-page, TIFF group IV format imaged at 300 dpi, with text and related path
provided in document level text files.

               2.      Color. Documents or records produced in non-native format and containing
color (for example, graphs, pictures, or color marketing materials) will be produced in color when
production in black and white would materially affect the understandability of the information
contained within the document. This provision does not apply to documents solely containing color
logos, signatures, watermarks, or letterhead. The receiving party may request the reproduction of
a document originally containing color that was produced in black and white if such black and
white production materially affects the understandability of the information contained within the
document. Reasonable requests for documents in color will be honored.

               3.    Unique IDs. Each image should have a unique filename, which is the Bates
number of the page. The filename should not contain any blank spaces and should be zero padded
(for example, ABC0000001).

              4.      Concordance Delimited Load File/Opticon Cross-Reference File.
Documents should be provided with a Concordance Delimited File and an Opticon Cross-
Reference File. Every TIFF in each production delivery must be referenced in the production’s
corresponding Load File. The total number of images referenced in a production delivery’s Load
File should match the total number of TIFF files in the production.

                        (a)   The Concordance Delimited Load File should contain available
fielded data, including Beginning Bates Number, Ending Bates Number and Number of Pages. For
example:
      þBegDocþ¶þEndDocþ¶þBegAttachþ¶þEndAttachþ¶þPagesþ¶þCDVolþ¶þCustodianþ


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                       (b)     Delimiter File. The available fielded data and/or electronic
metadata should be provided in the following format: (a) fields should be delimited by the default
Concordance field delimiter for ACII character 20 (¶); (b) string values within the fields file should
be enclosed with a text delimiter ASCII character 254 (þ); (c) the first line should contain objective
coding and/or electronic file metadata headers and below the first line there should be exactly one
line for each document; (d) each row of objective coding and/or electronic file metadata must
contain the same amount of fields as the header row; and (e) multi-values should be separated by
a semicolon (;).

                       (c)     Examples of appropriate Opticon Cross-Reference files are:

                MSC000001,MSC001,D:\MSC001\IMAGES\001\MSC000001.TIF,Y„,3
                MSC000002,MSC001,D:\MSC001\IMAGES\001\MSC000002.TIF,,„
                MSC000003,MSC001,D:\MSC001\IMAGES\001\MSC000003.TIF,„,
                MSC000004,MSC001,D:\MSC001\IMAGES\001\MSC000004.TIF,Y„,2
                MSC000005,MSC001,D:\MSC001\IMAGES\001\MSC000005.TIF,„,

                      (d)    OCR Text Files. Text shall be provided on a document level in an
appropriately formatted text file (.txt) that is named to match the first bates number of the
document.

                         (e)      Unitizing Documents. In scanning paper documents, distinct
documents should not be merged into a single record, and single documents should not be split
into multiple records (i.e., paper documents should be logically unitized). The parties will make
their best efforts to have their vendors logically unitize documents correctly, maintain Parent-Child
Relationships (discussed below), and will commit to address situations of improperly unitized
documents or circumstances where Parent-Child Relationships have not been maintained and
produced.

                    (f)     Objective Coding Fields. The load files accompanying any
scanned paper documents will include the following objective coding fields:

 Field                         Description

 Bates_Begin                   The Bates number of the first page of the document.

 Bates_End                     The Bates number of the last page of the document.

 Custodians                    The custodian or source where the document was found.

 OCR/Text Path                 The relative path to the OCR/Txt Files

 Redaction                     Whether the document is redacted (Yes/No)

 Redaction_Reason              Reason for redaction.




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 Conf_Desig                    The confidentiality designation, if any, for the document pursuant
                               to any protective order in the case.

 Prod_Volume                   Production volume.


       C.      PRODUCTION OF EMAIL AND ELECTRONIC DOCUMENTS

                1.     The TIFF, Color, Unique ID, and Opticon Cross-Reference File
specifications above also apply to electronic information. In the alternative, electronic information
may be provided solely in its native or “near-native” format. The table below supplies examples
of agreed-upon native or near-native forms in which specific types of ESI should be produced:

 Source ESI                                     Examples of Native or Near-Native Form or
                                                Forms Sought
 Spreadsheets                                   .XLS, .XLSX, .ODS, .Numbers
 Presentations                                  .PPT, .PPTX, .ODP, .Keynote
 Microsoft Access Databases                     .MDB, .ACCDB
 Audio or Video Files                           .MP3, .MOV., MP4, .AVI, .WAV, .WMA

If production in native or near-native forms is preferred for certain types of ESI, the parties should
further meet and confer regarding whether any data is encrypted or password-protected (in which
case the producing party shall provide a means to gain access to those files), requires proprietary
or legacy software for review, as well as any other format-related issues reasonably foreseeable
due to the native or near-native production formatting. Moreover, the file names for electronic
information produced in native or near-native format should be their Unique ID number. The
native or near-native production should also include Concordance delimited load files containing
the metadata associated with each electronic document, including those metadata fields identified
below, along with the extracted text and a link to the produced native file.

              2.     Media. Media may be delivered on CDs, DVDs,External USB hard drives
or via FTP . Each media volume should have its own unique filename and a consistent naming
convention (for example, ZZZ001 or BLOOD001).

              3.     Parent-Child Relationships. Attachments, enclosures, and/or exhibits to
any parent document should also be produced and proximately linked to the respective parent
document (and vice-versa).

                4.      Time Zone. Unless otherwise agreed, all dynamic date and time fields,
where such fields are processed to contain a value, and all metadata pertaining to dates and times
will be standardized to Central Time. The Parties understand and acknowledge that such
standardization affects only dynamic fields and metadata values and does not affect, among other
things, dates and times that are hardcoded text within a file. Dates and times that are hard-coded
text within a file (for example, in an email thread, dates and times of earlier messages that were
converted to body text when subsequently replied to or forwarded; and in any file type, dates and
times that are typed as such by users) will be produced as part of the document text.


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               5.     Concordance Delimited Text File / Metadata. Using the delimiters
detailed above, the Concordance Delimited Text file applicable to electronic documents produced
in TIFF should also contain all available metadata, but at a minimum and to the extent applicable,
available and/or unredacted, the following extracted metadata fields should be included:1

    Field                      Description

    Bates_Begin                The Bates number of the first page of the document

    Bates_End                  The Bates number of the last page of the document

    Attach _Begin              The Bates number of the first page of a family of documents (e.g.,
                               email and attachment)

    Attach_End                 The Bates number of the last page of a family of documents

    File Name                  The filename of an attachment or stand-alone e-file

    File Extension             The file extension of an attachment or stand-alone e-file (e.g., .doc.
                               xls)

    Subject                    The subject of an email

    Sent Date & Time           For email, the sent date and time of the message in the format
                               MM/DD/YYYY HH:MM

    Received Date & Time       For email, the date and time the message was received in the format
                               MM/DD/YYYY HH:MM

    Message_ID                 For email, the message ID

    Item Type                  Identifies whether the file is an email, attachment to an email. Or
                               stand-alone efile.

    Create Date & Time         For efiles or attachments, the document’s creation date and time
                               or operating system creation date and time in the format
                               MM/DD/YYYY HH:MM




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  The parties were unable to reach agreement as to whether metadata for File_Path_Source
(identifying the original file path to the file’s collection source or e-mailbox folder structure)
should be included as an extracted metadata field that should be included in the Concordance
Delimited Text file applicable to electronic documents produced in TIFF. In agreeing to this
protocol, Plaintiff reserves the right to seek the production of such metadata.


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 Modified Date & Time          For efiles or attachments, document’s last modified dated and
                               time or operating system last modified date and time in the
                               format MM/DD/YYYY HH:MM

 Author                        The author of a stand-alone efile or attachment

 From                          The sender of an email message

 To                            The recipients of an email message, in a semi-colon delimited
                               multi-value list

 CC                            The copyee(s) of an email message, in a semi-colon delimited
                               multi-value list

 BCC                           The blind copyee(s) of an email message, in a semi-colon
                               delimited multi-value list

 Importance                    For emails, “High,” “Low,” or “Normal (or equivalent if an email
                               client other than Outlook was used).

 Custodians                    The custodians in whose files the document was found.

 Modified _Author              The author who last modified the document.

 Hash_Value                    The calculated MD5 or SHA1 hash value of the document.

 Native_File                   The file path to the location of the native file if produced natively

 OCR/Txt Path                  The relative path to the OCR/Txt Files

 Redaction                     Whether the document is redacted (Yes/No)

 Redaction_Reason              Reason for redaction.

 HiddenCnt                     Whether the documents contains hidden Content/Embedded
                               Objects in item(s) (Yes/No)

 Conf_Desig                    The confidentiality designation, if any, for the document pursuant
                               to any protective order in the case

 Prod_Volume                   Production volume.


If a producing party intentionally withholds some or all of the metadata that was contained in the
electronic documents, the producing party shall inform all other parties of this fact, in writing, at
or before the time of production.




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                6.     Extracted Text Files. For each electronic document, a text file (not OCR
text) should be provided along with the TIFF. The full text of native files should be extracted
directly from the native file and should be delivered on a document level according to the
specifications above similar to paper documents.

                 7.     Native Format. The processed native for all spreadsheets (i.e., MS Excel),
PowerPoint files, documents with “macros,” and electronic information containing audio or visual
components should be produced and linked to the database by the above metadata field “Path to
Native File.” The requesting party may ask for certain other documents and/or databases initially
produced in their petrified (TIFF or PDF) format to be produced in their native format in the event
that the petrified format is not reasonably usable. The requesting party shall identify the documents
by their Bates numbers and the documents should be produced in their unaltered native format
with an accompanying delimited text file (using the delimiters above) containing the metadata
associated with each electronic document, including those metadata fields identified above, along
with the extracted text and a link to the produced native file.




Dated: April 3, 2018

                                              ________________________________
                                              U.S. DISTRICT JUDGE




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Dated: March 30, 2018

 WE SO MOVE and agree to abide by this WE SO MOVE and agree to abide by this
 Order:                                Order:

 s/ Erich P. Schork                             s/ Bradley J. Andreozzi

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